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 1   DAVID A. TORRES AND ASSOCIATES
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 3   Bakersfield, CA 93301
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 5
     Attorney for:
 6   FELIPE VALDEZ-COLIMA
 7                                    UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                          Case No. 1:18-CR-00158 DAD-BAM
11                       Plaintiff,
12            v.                                         STIPULATION AND ORDER TO
                                                         CONTINUE SENTENCING
13    FELIPE VALDEZ-COLIMA,                              HEARING
14                       Defendants.
15

16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE DALE A.
17   DROZD AND KAREN ESCOBAR, ASSISTANT UNITED STATES ATTORNEY:
18          COMES NOW Defendant, FELIPE VALDEZ-COLIMA, by and through his attorney of

19   record, DAVID A. TORRES hereby requesting that the sentencing hearing currently set for

20   Monday, April 22, 2019 be continued to Monday May 20, 2019.

21          On Friday, April 12, 2019, I commenced a vehicular manslaughter trial in the matter of

22   People v. Moroyoqui; BF169110A, in the Kern County Superior Court in front of the Honorable

23   John D. Oglesby. Trial is anticipated to last approximately two weeks. I have spoken AUSA

24   Karen Escobar and she has no objection to continuing the sentencing hearing. Time is excluded

25   under the Speedy Trial Act in that good cause exists and that the ends of justice outweigh the

26   interest of the public and the defendant in a speedy trial.

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 1                                                             Respectfully Submitted,
     DATED: April 17, 2019                                     /s/ David A Torres        ___
 2                                                             DAVID A. TORRES
                                                               Attorney for Defendant
 3                                                             Felipe Angeles Valdez-Colima
 4

 5
     DATED: April 17, 2019                                     /s/Karen Escobar________
 6                                                             KAREN ESCOBAR
                                                               Assistant U.S. Attorney
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 8
                                               ORDER
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10          The sentencing hearing currently set for April 22, 2019 is continued to May 20, 2019

11   before District Judge Dale A. Drozd.

12   IT IS SO ORDERED.
13
        Dated:    April 18, 2019
14                                                   UNITED STATES DISTRICT JUDGE

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